                       Case 1:20-cr-00190-WHP Document 22 Filed 10/20/20 Page 1 of 8


AO 245B (Rev. 09/19)   Judgment in a Criminal Case      (form modified within District on Sept. 30, 2019)
                       Sheet I



                                          UNITED STATES DISTRJCT COURT
                                                            Southern District of New York
                                                                                  )
              UNITED STATES OF AMERICA                                            )       JUDGMENT IN A CRIMINAL CASE
                                   V.                                             )
                        Cristian Rodriguez
                                                                                  )
                                                                                          Case Number: 20-Cr-190 (WHP)
                                                                                  )
                                                                                  )       USM Number: 79688-054
                                                                                  )
                                                                                  )        Mark Gombiner, Esq.
                                                                                  )       Defendant's Attorney
THE DEFENDANT:
!i1' pleaded guilty to count(s)         1, 2 3, and 4
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                               Offense Ended
21 USC 846, 21 USC                Conspiracy to Distribute Oxycodone and Heroin                                    10/23/2017                             I
841 (b)(1 )(A)                                                                                                                                            I
                                                                                                                                                          i
       The defendant is sentenced as provided in pages 2 through
the Sentencing Reform Act of 1984.
                                                                                 _ _8__ of this judgment. The sentence is imposed pursuant to             Ii
                                                                                                                                                          l
D Toe defendant has been found not guilty on count(s)
D Count(s) - - - - - - - - - - - - - Dis                                 Dare dismissed on the motion of the United States.                               I
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,   I
the defenaant must notify the court and.l:Jnited States attorney of material changes in econom1c circumstances.

                                                                                                                 10/15/2020
                                                                                                                                                          i
                                                                                Date oflmposition of Judgment

                                                                                                                                                          I
                                                                                                                                                          I
                                                                                                                                                          II
                                                                                                                                                          I
                                                                                             William H Pauley Ill , U.S. Senior District Judge
                                                                                Name and Title of Judge
                                                                                                                                                          I
                                                                                Date
                                                                                                                 10/16/2020
                                                                                                                                                          I
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                       Case 1:20-cr-00190-WHP Document 22 Filed 10/20/20 Page 2 of 8


AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet IA
                                                                                    Judgment- Page   ____1___   of   8
DEFENDANT: Cristian Rodriguez
CASE NUMBER: 20-Cr-190 (WHP)

                                           ADDITIONAL COUNTS OF CONVICTION

Title & Section                  Nature of Offense                              Offense Ended
21 USC 846,                       Conspiracy to Distribute Oxycodone             10/23/2017
21 USC841(b)(1)(C)


21 USC 846,                       Conspiracy to Distribute Oxycodone             10/23/2017                 3

21 USC 841(b)(1)(C)


21 USC 841,                       Dispensing Oxycodone and Heroin by Means of    10/23/2017                 4

21 USC 841(h)                     the Internet




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                       Case 1:20-cr-00190-WHP Document 22 Filed 10/20/20 Page 3 of 8


AO 245B (Rev, 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                     Judgment- Page   --=-3-   of   8
DEFENDANT: Cristian Rodriguez
CASE NUMBER: 20-Cr-190 (WHP)

                                                             IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
 Time Served.




      0 The court makes the following recommendations to the Bureau of Prisons:




      D The defendant is remanded to the custody of the United States Marshal.

      D The defendant shal1 surrender to the United States Marshal for this district:
                                                               D
           0    at
                     --------- 0                      a.m.          p.m.     on
                                                                                                                                        !
                                                                                                                                        I
           D    as notified by the United States Marshal.
                                                                                                                                        I
      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           D before 2 p.m. on
                                                                                                                                        !I
                                                                                                                                        !
           •
           D
                as notified by the United States Marshal.

                as notified by the Probation or Pretrial Services Office.
                                                                                                                                        I
                                                                   RETURN
                                                                                                                                        I
                                                                                                                                        i
                                                                                                                                        [

 I have executed this judgment as follows:
                                                                                                                                        I
                                                                                                                                        ,,
                                                                                                                                        "
                                                                                                                                        J


           Defendant delivered on                                                        to
                                                                                                                                        I
                                                                                                                                        ;
                                                                                                                                        !
                                                                                                                                        Ii
                                                                                                                                        !
 at
      --------------- ,                               with a certified copy of this judgment.                                           I
                                                                                                                                        f
                                                                                                                                        i
                                                                                                   UNITED STATES MARSHAL                I
                                                                                                                                        I
                                                                            By-------,--,---=---,~=~--,-=--~-------
                                                                                                DEPUTY UNITED STATES MARSHAL            I!'
                                                                                                                                        !I
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                       Case 1:20-cr-00190-WHP Document 22 Filed 10/20/20 Page 4 of 8


AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                        Judgment-Page   _L_     of       8
DEFENDANT:             Cristian Rodriguez
CASE NUMBER: 20-Cr-190 (WHP)
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 3 years post release supervision on all counts to be served concurrently.




                                                                                                                                               I
                                                                                                                                               ~
                                                                                                                                               f.
                                                      MANDATORY CONDITIONS                                                                     !
                                                                                                                                               [

1.    You must not commit another federal, state or local crime.                                                                               I'
2.
3.
      You must not unlawfully possess a controlled substance.
      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from        I
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              D The above drug testing condition is suspended, based on the court's determination that you                                     I
4.
                  pose a low risk of future substance abuse. (check if applicable)
       D You must make restitution in accordance with 18 U .S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of              II
          restitution. (check if applicable)
5.     ~ You must cooperate in the collection ofDNA as directed by the probation officer. (check if applicable)
                                                                                                                                               I
6.     D   You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
                                                                                                                                               t
                                                                                                                                               I
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D   You must participate in an approved program for domestic violence. (check if applicable)                                            I
                                                                                                                                               !
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                                                                                                                                               l
                                                                                                                                               l

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                       Case 1:20-cr-00190-WHP Document 22 Filed 10/20/20 Page 5 of 8


AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                              Judgment-Page        5
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                                                                                                                                 - - - ~ --
DEFENDANT: Cristian Rodriguez
CASE NUMBER: 20..Cr-190 (WHP)

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep infonned, report to the court about, and bring about improvements in your conduct and condition.

l.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.                           .
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full ti.me (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
     aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
l 0. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or infonnant without
     first getting the permission of the court.
12. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only                                                                                                                     I
                                                                                                                                                   f
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
                                                                                                                                                   I
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                   Date
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                       Case 1:20-cr-00190-WHP Document 22 Filed 10/20/20 Page 6 of 8

AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D - Supervised Release
                                                                                          Judgment- Page _Ji_ of            8
DEFENDANT: Cristian Rodriguez
CASE NUMBER: 20-Cr-190 (WHP)

                                         SPECIAL CONDITIONS OF SUPERVISION
 1). The defendant shall submit his person, and any property, residence, vehicle, papers, computer, other electronic
 communication, data storage devices, cloud storage or media, and effects to a search by any United States Probation
 Officer, and if needed, with the assistance of any law enforcement. The search is to be conducted when there is a
 reasonable suspicion concerning violation of a condition of supervision or unlawful conduct by the defendant. Failure to
 submit to a search may be grounds for revocation of release. The defendant shall warn any other occupants that the
 premises may be searches pursuant to this condition . Any search shall be conducted at a reasonable time and in a
 reasonable manner.

 2). The defendant must obey the immigration laws and comply with the directives of immigration authorities .
                       Case 1:20-cr-00190-WHP Document 22 Filed 10/20/20 Page 7 of 8

AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment - Page __7~_ of           8
 DEFENDANT: Cristian Rodriguez
 CASE NUMBER: 20-Cr-190 (WH P)
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                Restitution                                   AV AA Assessment*         JVTA Assessment**
 TOTALS           $    400.00                $                       $                     $                         $



 0    The detennination of restitution is deferred until
                                                         -----
                                                               . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such detennination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned paYI!!ent, unless s~cified otherwise in
      the priority' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664l1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                  Total Loss***              Restitution Ordered       Priority or Percentage




                                                                                                                                                  I
                                                                                                                                                  I
                                                                                                                                                  !
                                                                                                                                                  I

                                                                                                                                                  II

                                                                                                                                                  I
 TOTALS


 O
                                      $          0.00
                                          -------- --

       Restitution amount ordered pursuant to plea agreement $
                                                                             $ - -- -- - - -0.00
                                                                                             --
                                                                                                                                                  II
                                                                                                                                                  !

                                                                         ----------
 0     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is.paid in full before the
                                                                                                                                                  I
       fifteenth day after the date of the.judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U .S.C. § 3612(.g).                                                               r
                                                                                                                                                  !
                                                                                                                                                  I
 O     The court determined that the defendant does not have the ability to pay interest and it is ordered that:                                  i
                                                                                                                                                  1
                                                                                                                                                  !
       O the interest requirement is waived for the             D fine   D restitution.
       D    the interest requirement for the         O    fme    D   restitution is modified as follows:                                          I
 * Amy, Vickyyand Andv Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** ·Justice for ictims of Trafficking Act of2015 , Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on          I
 or after September 13, 1994, but before April 23 , 1996.
                                                                                                                                                  I
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                       Case 1:20-cr-00190-WHP Document 22 Filed 10/20/20 Page 8 of 8

AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                       Judgment- Page   ___a__    of       8
 DEFENDANT: Cristian Rodriguez
 CASE NUMBER: 20-Cr-190 (WHP)


                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ill   Lump sum payment of$          400~.0~0_ __       due immediately, balance due

             D    not later than _ _ _ _ _ _ _ _ _ _ , or
             O    in accordance with O C,  D D, O E,or                     D F below; or
 B     D     Payment to begin immediately (may be combined with          O C,       D D, or     D F below); or

 C     D     Payment in equal      _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                            (e.g., months or years), to commence
                                                              _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D     Payment in equal       _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                            (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     D     Payment during the term of supervised release will commence within _ __ _ _ (e.g. , 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     D     Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this jud...oment imposes imprisonment, payment ofcriminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penaffies, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                               Joint and Several              Corresponding Payee,
       (including defendant nwnber)                       Total Amount                    Amount                         if appropriate




 D     The defendant shall pay the cost of prosecution.

 0     The defendant shall pay the following court cost(s):

 Q']   The defendant shall forfeit the defendant's interest in the following property to the United States:
       $300,000


 Payipents shall be a_pplied in the following order: (l) assessment, (2) restitution princ!Eal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (oJ fine interest, (7) community restitution, (8) JVrA assessment,(~) penalties, and (10) costs, mcluding cost of
 prosecution and court costs.
